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                      UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

In Re:
KATRINA CANAL BREACHES                   §          CIVIL ACTION
CONSOLIDATED LITIGATION                  §
                                         §          NO. 05-4182 “K” (2)
                                         §
PERTAINS TO: INSURANCE                   §
                                         §
JOSEPH NEMETH, et al NO: 07-3078         §
LEO WANG, et al         NO: 07-3088      §
RYCK SOTO               NO: 07-3079      §
                                         §
VERSUS                                   §
                                         §
ALLSTATE INSURANCE COMPANY               §
________________________________________ §



                                     ORDER

             Considering the foregoing Motion for Extension of Time:

             IT IS ORDERED that Allstate Insurance Company and/or Allstate

Indemnity Company be and is hereby granted an extension of time, through and

including July 19, 2007, within which to respond to the First Supplemental and

Amending Complaint.

             New Orleans, Louisiana, this _____ day of June 2007.



                                         __________________________________
                                                       JUDGE
